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Exhibit A
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‘please be advised that we have changed our email address from lawmfm@aol.com to mfm@martinmcmahonlaw.com.
Please contact us at that address with any updates or if you have any questions. Thank you

Lisa Angelo
McMahon and Associates

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11/21/2005
